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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


SAMMIE HALL,

       Plaintiff,

-VS-                                                  CASE NO.:

USAA FEDERAL SAVINGS BANK,

       Defendant.
                                      /

                      COMPLAINT AND DEMAND FOR JURY TRIAL

        1.      Plaintiff alleges violation of the Telephone Consumer Protection Act, 47 U.S.C.

§227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et

seq. (“FCCPA”).

                                          INTRODUCTION

        2.      The TCPA was enacted to prevent companies like USAA FEDERAL SAVINGS

BANK, (hereinafter, “Defendant” or “USAA”), from invading American citizens’ privacy and

prevent abusive “robo-calls.”

        3.      “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, --US--, 132 S.Ct. 740, 745, 181

L.Ed.2d 881 (2012).

        4.      “No one can deny the legitimacy of the state’s goal: Preventing the phone (at

home or in one’s pocket) from frequently ringing with unwanted calls. Every call uses some of

the phone owner’s time and mental energy, both of which are precious. Most members of the

public want to limit calls, especially cellphone calls, to family and acquaintances, and to get their


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political information (not to mention their advertisements) [*6] in other ways.”             Patriotic

Veterans v. Zoeller, No. 16-2059, 2017 U.S. App. LEXIS 47, at *5-6 (7th Cir. Jan 3, 2017).

       5.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner at

night; they force the sick and elderly out of bed; they hound us until we want to rip the telephone

out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give

telephone subscribers another option: telling the autodialers to simply stop calling.” Osorio v.

State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       6.      According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-protection-

proposal.

                                 JURISDICTION AND VENUE


       7.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

       8.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

Mims v. Arrow Fin. Servs., LLC, 132 S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank,

F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).



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       9.      The alleged violations described herein occurred in Pasco County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                    FACTUAL ALLEGATIONS

       10.     Plaintiff is a natural person, and citizen of the State of Florida, residing in Land

O’ Lakes, Pasco County, Florida.

       11.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

       12.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

       13.     Defendant is a corporation which was formed in Texas with its principal place of

business located at 9800 Fredericksburg Road, San Antonio, Texas 78288, and which conducts

business in the State of Florida.

       14.     The debt that is the subject matter of this complaint is a “consumer debt” as

defined by Florida Statute § 559.55(6).

       15.     Defendant is a “creditor” as defined in Florida Statute § 559.55(5).

       16.     Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(813) *** - 1464, and was the called party and recipient of Defendant’s hereinafter described

calls/text messages.

       17.     Defendant placed an exorbitant number of automated calls/text messages to

Plaintiff’s cellular telephone (813) *** - 1464 in an attempt to collect on an automobile loan.

       18.     On several occasions over approximately the last year, Plaintiff instructed

Defendant’s agents to stop calling/texting his cellular telephone.


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       19.     Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified the calls

were being initiated from, but not limited to, the following phone number(s): (800) 759-8722 and

(800) 531-7013, and when those numbers are called, an automated message answers “Thank you

for calling USAA.”

       20.     Upon information and belief, some or all of the calls the Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”

which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or

prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter

“autodialer calls”).

       21.     Plaintiff will testify that he knew it was an autodialer because of the vast number

of calls and text messages he received, and because when he answered a call from the Defendant,

he would hear a two to three second pause before a representative would come on the line.

       22.     Additionally, Plaintiff received a number of text messages often similar in content

that leads him to believe the text messages were being sent from an automated system.

       23.     Defendant attempted to collect a debt from the Plaintiff by this campaign of

telephone calls.

       24.     On or about January 16, 2019, Plaintiff answered a call from Defendant to his

aforementioned cellular telephone number, held the line, was eventually connected to a live

representative, and informed an agent/representative of Defendant that he was aware he was past

due, he had a family emergency that caused him to fall behind, that he would be making a

payment shortly to get caught up, and demanded that Defendant stop calling his aforementioned

cellular telephone number.


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       25.     During the aforementioned phone conversation on or about January 16, 2019 with

Defendant’s agent/representative, Plaintiff unequivocally revoked any express consent

Defendant may have otherwise believed it had for placement of telephone calls to Plaintiff’s

aforementioned cellular telephone number by the use of an automatic telephone dialing system

or a pre-recorded message or artificial voice.

       26.     Each subsequent call the Defendant made to the Plaintiff’s aforementioned

cellular telephone number was done so without the “express consent” of the Plaintiff.

       27.     Each subsequent call the Defendant made to the Plaintiff’s aforementioned

cellular telephone number was knowing and willful.

       28.     Additionally, on or about February 18, 2019, due to continued automated calls to

his aforementioned cellular telephone number from the Defendant, Plaintiff answered another

call from Defendant, held the line, was eventually connected to a live agent/representative of

Defendant, and informed the agent/representative of Defendant that he had previously informed

them not to call his cellular phone, and again demanded that Defendant cease placing calls to his

aforementioned cellular telephone number.

       29.     Despite actual knowledge of their wrongdoing, the Defendant continued the

campaign of abuse, calling the Plaintiff despite the Plaintiff revoking any express consent the

Defendant may have had to call his aforementioned cellular telephone number.

       30.     On at least three (3) separate occasions, Plaintiff has either answered a call from

Defendant or returned a call (or text message) to Defendant regarding his account, held the line

to be connected to a live representative, and demanded that Defendant cease placing calls to his

aforementioned cellular telephone number.

       31.     Each of the Plaintiff’s requests for the harassment to end was ignored.


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        32.     Defendant has placed approximately one hundred (100) actionable calls to

Plaintiff’s aforementioned cellular telephone number.

        33.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

often calling up to three (3) times during one day, and on back to back days, with such frequency

as can reasonably be expected to harass.

        34.     From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon

his right of seclusion.

        35.     From each and every call without express consent placed by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of his cellular telephone line

and cellular phone by unwelcome calls, making the phone unavailable for legitimate callers or

outgoing calls while the phone was ringing from Defendant’s calls.

        36.     From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time. For

calls he answered, the time he spent on the call was unnecessary as he repeatedly asked for the

calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal

with missed call notifications and call logs that reflect the unwanted calls. This also impaired the

usefulness of these features of Plaintiff’s cellular phone, which are designed to inform the user of

important missed communications

        37.     Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone was an injury in the form of a nuisance and annoyance to the Plaintiff. For calls that

were answered, Plaintiff had to go through the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to deal with missed call notifications and call logs that reflected


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the unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

phone, which are designed to inform the user of important missed communications.

         38.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell phone’s battery

power.

         39.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone where a voice message was left which occupied space in Plaintiff’s phone and/or

network.

         40.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely his cellular phone and

his cellular phone services.

         41.    As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affected in a personal and individualized way by stress and aggravation.

         42.    Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s cellular telephone in

this case.

         43.    Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular telephone in this case,

with no way for the consumer, Plaintiff, or Defendant, to remove the number.

         44.    Defendant’s corporate policy is structured so as to continue to call individuals like

Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

         45.    Defendant has had numerous complaints against it from consumers across the

country asking to not be called; however, Defendant continues to call these individuals.


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        46.     Defendant’s corporate policy provided no means for Plaintiff or Defendant to

have Plaintiff’s number removed from Defendant call list.

        47.     Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge the called parties do not wish to be called.

        48.     Not one of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

        49.     Defendant willfully and/or knowingly violated the TCPA with respect to the

Plaintiff.

                                             COUNT I
                                      (Violation of the TCPA)

        50.     Plaintiff realleges and incorporates paragraphs one (1) through forty-nine (49)

above as if fully set forth herein.

        51.     Defendant willfully violated the TCPA with respect to Plaintiff, specifically for

each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

Defendant that Plaintiff did not wish to receive any telephone communication from Defendant,

and demanded for the calls to stop.

        52.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff, SAMMIE HALL, respectfully demands a trial by jury on all

issues so triable and judgment against, USAA FEDERAL SAVINGS BANK, for statutory

damages, treble damages, punitive damages, actual damages and any other such relief the court

may deem just and proper.

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                                              COUNT II
                                      (Violation of the FCCPA)

          53.   Plaintiff realleges and incorporates paragraphs one (1) through forty-eight (48)

above as if fully set forth herein.

          54.   At all times relevant to this action Defendant is subject to and must abide by the

law of Florida, including Florida Statute § 559.72.

          55.   Defendant has violated Florida Statute § 559.72(7) by willfully communicating

with the debtor or any member of his family with such frequency as can reasonably be expected

to harass the debtor or his family.

          56.   Defendant has violated Florida Statute § 559.72(7) by willfully engaging in

conduct which can reasonably be expected to abuse or harass the debtor or any member of his

family.

          57.   Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of damages as described by Florida Statute § 559.77.

          WHEREFORE, Plaintiff, SAMMIE HALL, respectfully demands a trial by jury on all

issues so triable and judgment against, USAA FEDERAL SAVINGS BANK, for statutory

damages, punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further

violations of these parts and any other such relief the court may deem just and proper.



                                              Respectfully Submitted,
                                              /s/ Shaughn C. Hill _____
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